             Case 1:20-cv-08729-JGK Document 7 Filed        11/09/20
                                                    r ' - • ·--
                                                                        I
                                                                        ~
                                                                           --
                                                                            -   -   -·•
                                                                                         --- -- ~---
                                                                              -. - ---Page
                                                                                   -- - - - - . ,-1 of
                                                                                          -- ·
                                                                                                            -- .. -
                                                                                                    ~· • ·1- ¥-·

                                                 l • _ v u,.. l 11'\J'..'
                                                 111·,·C'T)I.

                                                 ': !I nnr:                1' ~, T'T'
                                                       _ _, ....,, - ._. ] , I 4 .,,,."          /0.




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
NAT ALIA JUSCINSKA,
                                    Plaintiff(s)                                                       20 civ 8729 (JGK)

                        -against-                                                   ORDER OF DISCONTINUANCE

FHR SEATTLE OPERATIONS,
                     Defendant(s).
--------------------------------------------------------------X

        It having been reported to this Court that the parties have settled this action, It is,

on this 9 th day of November, 2020, hereby ordered that this matter be discontinued with

prejudice but without costs; provided, however, that within 30 days of the date of this order,

counsel for the plaintiff may apply by letter for restoration of the action to the calendar of the

undersigned, in which event the action will be restored.

         Any application to reopen must be filed within thirty (30) days of this order; any

application to reopen filed thereafter may be denied solely on that basis. Further, if the

parties wish for the Court to retain jurisdiction for the purpose of enforcing any settlement

agreement, they must submit the settlement agreement to the Court within the same thirty-day

period to be "so ordered" by the Court. Unless the Court orders otherwise, the Court will not

retain jurisdiction to enforce a settlement agreement unless it is made part of the public record.

         All pending motions are dismissed as moot. All conferences are canceled. The Clerk of

Court is directed to close this case.

SO ORDERED.

                                                                       UNITED STA TES DISTRICT JUDGE
Dated : New York, New York
        November 9, 2020
